Case 2:77-cr-01047-CJC Document 94-1 Filed 12/07/20 Page 1 of 22 Page ID #:310




                EXHIBITS
A     Video Supplement


B     Memos Re: Jose Valenzuela from BOP Correctional
      Officers / Certificates of Achievement
      (Representative Sampling)


C     Declaration of Jose Milton Puentes


D     Memorandum of Decision and Order Granting in Part
      Petitioner’s Motion Pursuant to 28 U.S.C. §2255 in
      Case No. CV-2882-RJK, Filed on December 10,
      1998 by United States District Court Judge Robert J.
      Kelleher
Case 2:77-cr-01047-CJC Document 94-1 Filed 12/07/20 Page 2 of 22 Page ID #:311




                        EXHIBIT A
                         VIDEO SUPPLEMENT




                   The video may be viewed by
                  clicking on the following link.
       Jose Valenzuela Video Supplement
                     https://www.dropbox.com/s/7g1siywdty4m41l/
               Jose%20Valenzuela%20Video%20Supplement%20.mp4?dl=0

             If any technical difficulty is encountered, please contact:

                       Law Offices of Matthew J. Lombard.
                          mlombard@lombardlaw.net
                                 424-371-5930
Case 2:77-cr-01047-CJC Document 94-1 Filed 12/07/20 Page 3 of 22 Page ID #:312




                          EXHIBIT B
   MEMOS RE: JOSE VALENZUELA FROM BOP
  CORRECTIONAL OFFICERS / CERTIFICATES OF
  ACHIEVEMENT (REPRESENTATIVE SAMPLING)
Case 2:77-cr-01047-CJC Document 94-1 Filed 12/07/20 Page 4 of 22 Page ID #:313
Case 2:77-cr-01047-CJC Document 94-1 Filed 12/07/20 Page 5 of 22 Page ID #:314
Case 2:77-cr-01047-CJC Document 94-1 Filed 12/07/20 Page 6 of 22 Page ID #:315
Case 2:77-cr-01047-CJC Document 94-1 Filed 12/07/20 Page 7 of 22 Page ID #:316
Case 2:77-cr-01047-CJC Document 94-1 Filed 12/07/20 Page 8 of 22 Page ID #:317




                          EXHIBIT C
      DECLARATION OF JOSE MILTON PUENTES
Case 2:77-cr-01047-CJC Document 94-1 Filed 12/07/20 Page 9 of 22 Page ID #:318
Case 2:77-cr-01047-CJC Document 94-1 Filed 12/07/20 Page 10 of 22 Page ID #:319
Case 2:77-cr-01047-CJC Document 94-1 Filed 12/07/20 Page 11 of 22 Page ID #:320
Case 2:77-cr-01047-CJC Document 94-1 Filed 12/07/20 Page 12 of 22 Page ID #:321




                          EXHIBIT D
    MEMORANDUM OF DECISION AND ORDER
    GRANTING IN PART PETITIONER’S MOTION
   PURSUANT TO 28 U.S.C. §2255 IN CASE NO. CV-
    2882-RJK, FILED ON DECEMBER 10, 1998 BY
     UNITED STATES DISTRICT COURT JUDGE
               ROBERT J. KELLEHER
Case 2:77-cr-01047-CJC Document 94-1 Filed 12/07/20 Page 13 of 22 Page ID #:322
Case 2:77-cr-01047-CJC Document 94-1 Filed 12/07/20 Page 14 of 22 Page ID #:323
Case 2:77-cr-01047-CJC Document 94-1 Filed 12/07/20 Page 15 of 22 Page ID #:324
Case 2:77-cr-01047-CJC Document 94-1 Filed 12/07/20 Page 16 of 22 Page ID #:325
Case 2:77-cr-01047-CJC Document 94-1 Filed 12/07/20 Page 17 of 22 Page ID #:326
Case 2:77-cr-01047-CJC Document 94-1 Filed 12/07/20 Page 18 of 22 Page ID #:327
Case 2:77-cr-01047-CJC Document 94-1 Filed 12/07/20 Page 19 of 22 Page ID #:328
Case 2:77-cr-01047-CJC Document 94-1 Filed 12/07/20 Page 20 of 22 Page ID #:329
Case 2:77-cr-01047-CJC Document 94-1 Filed 12/07/20 Page 21 of 22 Page ID #:330
Case 2:77-cr-01047-CJC Document 94-1 Filed 12/07/20 Page 22 of 22 Page ID #:331
